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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                        ROME DIVISION


UNITED STATES OF AMERICA,        *
                                 *
     Plaintiff,                  *
                                 *
     v.                          *                4:18-CV-00191-ELR
                                 *
CHARLES C. ADAMS, M.D.,          *
CHARLES C. ADAMS, M.D., P.C.,    *
D/B/A FULL CIRCLE MEDICAL        *
CENTER, AND PERSONAL             *
INTERGRATIVE MEDICAL PLLC., *
                                 *
     Defendants.                 *
                                 *
                            _________

                                   ORDER
                                   _________

      The undersigned finds that she has a conflict in this case. Pursuant to Canon

3(C) of the Code of Conduct for United States Judges, the undersigned RECUSES

from this case and DIRECTS the Clerk to reassign this action to another judge in

accordance with the Internal Operating Procedures of this Court.

      SO ORDERED, this 20th day of April, 2023.



                                            ______________________
                                            Eleanor L. Ross
                                            United States District Judge
                                            Northern District of Georgia
